Case 5:19-cv-00352-SVW-KK Document 1-1 Filed 02/22/19 Page 1 of 37 Page ID #:10




                       Exhibit A
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                                                                            Service of Process
                                                                            Transmittal
                                                                            01/24/2019
                                                                            CT Log Number 534795723
    TO:     Charissa Sebesta
            CEVA Logistics
            15350 Vickery Dr
            Houston, TX 77032-2530

    RE:     Process Served in Texas

    FOR:    CEVA Logistics U.S., Inc. (Domestic State: DE)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                  CLARENCE C. BELL, III, ETC., PLTF. vs. CEVA LOGISTICS U.S., INC., ETC., ET AL.,
                                      DFTS.
    DOCUMENT(S) SERVED:               AMENDED COMPLAINT, EXHIBIT
    COURT/AGENCY:                     Riverside County, Superior Court of California, CA
                                      Case # RIC1824189
    NATURE OF ACTION:                 Employee Litigation
    ON WHOM PROCESS WAS SERVED:       C T Corporation System, Dallas, TX
    DATE AND HOUR OF SERVICE:         By Process Server on 01/24/2019 at 13:38
    JURISDICTION SERVED :             Texas
    APPEARANCE OR ANSWER DUE:         None Specified
    ATTORNEY(S) / SENDER(S):          KEVIN T. BARNES, ESQ.
                                      LAW OFFICES OF KEVIN T. BARNES
                                      1635 PONTIUS AVENUE, SECOND FLOOR
                                      LOS ANGELES, CA 90025
                                      323-549-9100
    ACTION ITEMS:                     CT has retained the current log, Retain Date: 01/25/2019, Expected Purge Date:
                                      01/30/2019

                                      Image SOP

                                      Email Notification, Charissa Sebesta charissa.sebesta@cevalogistics.com

                                      Email Notification, Jerry Garcia jerry.garcia@cevalogistics.com
                                      Email Notification, Matilde Robinson Matilde.Robinson@cevalogistics.com

                                      Email Notification, Marcus Bradley marcus.bradley@cevalogistics.com

    SIGNED:                           C T Corporation System
    ADDRESS:                          1999 Bryan Street
                                      Suite 900
                                      Dallas, TX 75201
    TELEPHONE:                        214-932-3601




                                                                            Page 1 of 1 / PS
                                                                            Information displayed on this transmittal is for CT
                                                                            Corporation's record keeping purposes only and is provided to
                                                                            the recipient for quick reference. This information does not
                                                                            constitute a legal opinion as to the nature of action, the
                                                                            amount of damages, the answer date, or any information
                                                                            contained in the documents themselves. Recipient is
                                                                            responsible for interpreting said documents and for taking
                                                                            appropriate action. Signatures on certified mail receipts
                                                                            confirm receipt of package only, not contents.
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                                                                                   f




                  1   Kevin T. Barnes, Esq. (#138477)
                      Grege Lander, Esq. (#194018)
                  2   LAW"OFFICES OF KEVIN T. BARNES
                      1635 Pontius Avenue, Second Floor
                  3   Los Angeles, CA 90025-3361
                      Tel: (323) 549-9100 / Fax: (323) 549-0101
                  4   Email: Bames@kbames.com
                  5   Raphael A. Katri, Esq. (#221941)
                      LAW OFFICES OF RAPHAEL A. KATRI
                  6   8549 Wilshire Boulevard, Suite 200
                      Beverly Hills, CA 90211-3104
                  7   Tel.: (310) 940-2034 / Fax: (310) 733-5644
                      Email: RKatri@socallaborlawyers.com
                  8
                      Attorneys for Plaintiff CLARENCE C. BELL, III,
                  9   on behalf of himself and all others similarly situated
                10                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                11                                  FOR THE COUNTY OF RIVERSIDE
             12        CLARENCE C. BELL, III, on behalf of           ) CLASS ACTION
                       himself and all others similarly situated,    )
             13                                                      ) Case No.: RIC1824189
                               Plaintiffs,                           )
             14                                                      ) FIRST AMENDED COMPLAINT FOR:
                               v.                                    )
             15                                                      ) 1. FAILURE TO PROVIDE ALL PAID
                       CEVA LOGISTICS U.S., INC., a                  )    REST PERIODS;
             16        Delaware corporation; RANDSTAD                ) 2. FAILURE TO PROVIDE ALL SECOND
                       ENHOUSE SERVICES, LLC, a                      )    MEAL PERIODS;
             17        Delaware limited liability company; and       ) 3. FAILURE TO PAY ALL SEVENTH DAY
                       DOES 1 to 100, inclusive,                     )    OVERTIME WAGES;
             18                                                      ) 4. FAILURE TO TIMELY FURNISH
                               Defendants.                           )    ACCURATE ITEMIZED WAGE
             19                                                      )    STATEMENTS;
                                                                     ) 5. VIOLATIONS OF LABOR CODE §203
            20                                                       ) 6. PENALTIES PURSUANT TO LABOR
                                                                     )    CODE §2699; AND
            21                                                       ) 7. UNFAIR BUSINESS PRACTICES
                                                                     )
            22                                                       ) DEMAND FOR JURY TRIAL
                                                                    )
            23                                                      ) Honorable David M. Chapman
                                                                    ) Department PS 2
            24                                                      )
                                                                    ) Action filed: November 15, 2018
            25                                                      ) Trial Date: None Set
            26               Plaintiff CLARENCE C. BELL, III, an individual on behalf of himself and all others
            27        similarly situated (hereinafter collectively referred to as “Plaintiffs”), hereby files this Complaint
            28        against Defendants CEVA LOGISTICS'U.S., INC., RANDSTAD INHOUSE SERVICES, LLC
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                   1   and DOES 1 to 100 (hereinafter collectively referred to as “Defendants”)- Plaintiffs are informed
               2       and believe, and on the basis of that information and belief, allege as follows:
               3                                                          I.
               4                                                INTRODUCTION
               5               1.      This is a civil action seeking recovery for Defendants’ violations of the California
               6       Labor Code (“Labor Code”). California Business and Professions Code (“B&PC”), the
               7       applicable Wage Orders issued by the California Industrial Welfare Commission (hereinafter, the
               8       “IWC Wage Orders”) and related common law principles.
               9               2.      Plaintiffs’ action seeks monetary damages, including full restitution from
             10        Defendants as a result of Defendants’ unlawful, fraudulent and/or unfair business practices.
             11                3.      The acts complained of herein occurred, occur and will occur, at least in part,
             12        within the time period from four (4) years preceding the filing of the original Complaint herein,
             13        up to and through the time of trial for this matter although this should not automatically be
             14        considered the statute of limitations for any cause of action herein.
             15        RELEVANT JOB TITLES
             16               4.       For introductory and general information only (and not to be considered a
             17        proposed class definition), the relevant individuals in this action are Defendants’ hourly-paid
             18        employees who were subjected to Defendants’ policies and practices as described herein. Any
             19        differences in job activities between the different individuals in these positions were and are
                                                                                                                              *
            20         legally insignificant to the issues presented by this action.
            21         SUMMARY OF CLAIMS
            22                5.      With regard to Defendants’ hourly-paid employees, Defendants have:
            23                        a. Failed to provide all paid rest periods;
            24                        b. Failed to provide all legally-requisite second meal periods;
            25                        c. Failed to pay all state-mandated 7th day overtime wages due and owing;
            26                        d. Failed to timely furnish accurate itemized wage statements;
            27                        e. Violated Labor Code §203;
            28                        f. Incurred penalties pursuant to Labor Code §§2698, et scq.; and
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              1                   g. Conducted unfair business practices.
              2                                                     II.                                                  /
              3                                                PARTIES
              4   PLAINTIFF CLARENCE C. BELL. Ill
              5           6.      Plaintiff CLARENCE C. BELL, III is an individual over the age of eighteen (18)
              6   and is now and/or at all times mentioned in this Complaint was a citizen of the State of California.
              7           7.      Plaintiff CLARENCE C. BELL, III worked for Defendant RANDSTAD
              8   INHOUSE SERVICES, LLC as an hourly-paid employee from approximately September 2017 to
              9   November 18, 2017 and for Defendant CEVA LOGISTICS U.S., INC. from approximately
          10      November 19, 2017 to October 26, 2018 in Mira Loma, California, which is in Riverside County,
          11      California.
          12              8.     Plaintiff CLARENCE C. BELL, III seeks recovery herein from Defendants
          13      because with regard to Plaintiff CLARENCE C. BELL. Ill, while acting for Defendants in his
          14      capacity as an hourly-paid employee, Defendants have:
          15                     a. Failed to provide all paid rest periods;
         16                      b. Failed to provide all legally-requisite second meal periods;
         1.7                     c. Failed to pay all state-mandated 7,h day overtime wages due and owing;
         18                      d. Failed to timely furnish accurate itemized wage statements;
         19                      e. Violated Labor Code $203:
         20                      f. Incurred penalties pursuant to Labor Code §§2698, et seq.;'and
         21                      g. Conducted unfair business practices.
         22       DEFENDANT. CEVA LOGISTICS U.S.: INC.
         23              9.      Defendant CEVA LOGISTICS U.S., INC. is now and/or at all times mentioned in
         24       this Complaint was a Delaware corporation and the owner and operator of an industry, business
         25       and/or facility licensed to do business and actually doing business in the State of California.
         26       DEFENDANT. RANDSTAD INHOUSE SERVICES. LLC
         27               10.    Defendant RANDSTAD INHOUSE SERVICES, LLC is now and/or at all times
         28       mentioned in this Complaint was a Delaware limited liability company and the owner and
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                1   operator of an industry, business and/or facility licensed to do business and actually doing
             2      business in the State of California.
             3      DOES 1 TO 100. INCLUSIVE
             4              11.     DOES 1 to 100, inclusive are now, and/or at all times mentioned in this
             5      Complaint were licensed to do business and/or actually doing business in California.
             6              12.     Plaintiffs do not know the true names or capacities, whether individual, partner or
             7      corporate, of DOES 1 to 100, inclusive and for that reason, DOES 1 to 100 are sued under such
             8      fictitious names pursuant to California Code of Civil Procedure (“CCP") §474.
            9               13.     Plaintiffs will seek leave of court to amend this Complaint to allege such names and
           10       capacities as soon as they are ascertained.
           11       ALL DEFENDANTS
           12               14.     Defendants, and each of them, are now and/or at all times mentioned in this
           13       Complaint were in some manner legally responsible for the events, happenings and circumstances
           14       alleged in this Complaint.
           15               15.    Defendants, and each of them, proximately subjected Plaintiffs to the unlawful
           16       practices, wrongs, complaints, injuries and/or damages alleged in this Complaint.
           17               16.    Defendants, and each of them, are now and/or at all times mentioned in this
           18       Complaint were the agents, servants and/or employees of some or all other Defendants, and vice-
           19       versa. and in doing the things alleged in this Complaint, Defendants are now and/or at all times
          20        mentioned in this Complaint were acting within the course and scope of that agency, servitude
          21        and/or employment.
          22                17.    Defendants, and each of them, are now and/or at all times mentioned in this
          23        Complaint were members of and/or engaged in a joint venture, partnership and common
          24        enterprise, and were acting within the course and scope of, and in pursuance of said joint
          25        venture, partnership and common enterprise.
          26               18.     Defendants, and each of them, at all times mentioned in this Complaint concurred
          27        and contributed to the various acts and omissions of each and every one of the other Defendants
          28        in proximately causing the complaints, injuries and/or damages alleged in this Complaint.
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                1            19.    Defendants, and each of them, at all times mentioned in this Complaint approved
                2   of, condoned and/or otherwise ratified each and every one of the acts and/or omissions alleged in
                3   this Complaint.
                4           20.     Defendants, and each of them, at all times mentioned in this Complaint aided and
                5   abetted the acts and omissions of each and every one of the other Defendants thereby
                6   proximately causing the damages alleged in this Complaint.
                7                                                      III.
                8                                      JURISDICTION AND VENUE
                9           21.     The California Superior Court has jurisdiction in this matter due to Defendants’
            10      aforementioned violations of California statutory law and/or related common law principles.
            11              22.     The California Superior Court also has jurisdiction in this matter because both the
            12      individual and aggregate monetary damages and restitution sought herein exceed the minimal
            13      jurisdictional limits of the Superior Court and will be established at trial, according to proof.
            14              23.     The California Superior Court also has jurisdiction in this matter because during
            15      their employment with Defendants, Plaintiff CLARENCE C. BELL, IH and the members of the
            16      putative Classes herein were all California citizens. Further, there is no federal question at issue, as
            17      the issues herein are based solely on California statutes and taw.
            18              24.     Venue is proper in Riverside County pursuant to CCP §395(a) and CCP §395.5 in
            19      that liability arose there because at least some of the transactions that are the subject matter of this
           20       Complaint occurred therein and/or each Defendant either is found, maintains offices, transacts
           21       business, and/or has an agent therein.
           22                                                          rv.
           23                                       CLASS ACTION ALLEGATIONS
           24               25.     CCP §382 provides in pertinent part: “...[W]hen the question is one of a common
           25       or general interest, of many persons, or when the parties are numerous, and it is impracticable to
           26       bring them all before the court, one or more may sue or defend for the benefit of all.” Plaintiffs
           27       bring this suit as a class action pursuant to CCP §382.
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                1          26.     The putative classes Plaintiffs will seek to certify are currently composed of and
                2   defined as follows:
                                   a. All California citizens employed by Defendants as hourly-paid employees
                4                     during the appropriate time period who were subjected to Defendants’ policies
                5                     and practices regarding providing all paid rest periods as specifically
                6                     described herein (hereinafter, the “Rest Period Class”);
                7                 b. All California citizens employed by Defendants as hourly-paid employees
                8                     during the appropriate time period who were subjected to Defendants’ policies
                9                     and practices regarding second meal periods as specifically described herein
           10                         (hereinafter, the “Meal Period Class”);
           11                     c. All California citizens employed by Defendants as hourly-paid employees
           12                         during the appropriate time period who worked seven days in a workweek for
           13                         Defendants and were subjected to Defendants’ policies and practices
           14                         regarding the payment of overtime wages for their seventh day of work in a
           15                         workweek (hereinafter, the “7th Day Overtime Class”);
           16                     d. All California citizens employed by Defendants as hourly-paid employees
           17                         during the appropriate time period who were subjected to Defendants’ policies
           18                         and practices regarding itemized wage statements as specifically described
           19                         herein (hereinafter, the “Wage Statement Class”);
          20                      e. All formerly-employed California citizens employed by Defendants as hourly-
          21                          paid employees during the appropriate time period who were subjected to
          22                          Defendants’ policies and practices regarding Labor Code §203 and the
          23                          payment of final wages as specifically described herein (hereinafter, the “LC
          24                          203 Class”); and
          25                      f. All California citizens employed by Defendants as hourly-paid employees
          26                          during the appropriate time period regarding whom Defendants have engaged
          27                          in unlawful, unfair and/or fraudulent business acts or practices prohibited by
          28                          B&PC §17200, et seq. as specifically described herein (hereinafter, the
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                    1                       “17200 Class”).
                2                27.    The Rest Period Class, Meal Period Class, 7th Day Overtime Class, Wage
                3        Statement Class. LC 203 Class and 17200 Class are herein collectively referred to as the
                4        “Classes.”
                5                28.    Throughout discovery in this litigation, Plaintiffs may find it appropriate and/or
                6        necessary to amend the definition of the Classes. Plaintiffs will formally define and designate a
                7       class definition at such time when Plaintiffs seek to certify the Classes alleged herein.
                S               29.     Numerositv (CCP $382):
                9                       a. The potential quantity of members of the Classes as defined is so numerous
              10                            that joinder of all members is unfeasible and impractical;
             11                         b. The disposition of the claims of the members of the Classes through this class
              12                           action will benefit both the parties and this Court;
             13                         c. The quantity of members of the Classes is unknown to Plaintiffs at this time;
              14                           however, it is estimated that the membership of the Classes numbers greater
             15                            than 100 individuals; and
             16                         d. The quantity and identity of such membership is readily ascertainable via
                                                            t
             17                            inspection of Defendants’ records.
             18                 30.     Superiority (CCP §382): The nature of this action and the nature of the laws
             19         available to Plaintiffs make the use of the class action format particularly efficient and the
             20         appropriate procedure to afford relief to Plaintiffs for the wrongs alleged herein, as follows:
             21                         a. California has a public policy which encourages the use of the class action
             22                            device;
            23                         b. By establishing a technique whereby the claims of many individuals can be
            24                             resolved at the same time, the class suit both eliminates the possibility of
            25                             repetitious litigation and provides small claimants with a method of obtaining
            26                             redress for claims which would otherwise be too small to warrant individual
            27                             litigation;
            28          ///
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                   1                 c. This case involves large corporate Defendants and a large number of
               2                         individual Class members with many relatively small claims and common
               3                         issues of law and fact;
               4                     d. If each individual member of the Classes was required to file an individual
               5                         lawsuit, the large corporate Defendants would necessarily gain an
               6                         unconscionable advantage because Defendants would be able to exploit and
               7                        overwhelm the limited resources of each individual member of the Classes
               8                        with Defendants’ vastly superior financial and legal resources;
               9                     e. Requiring each individual member of the Classes to pursue an individual
             10                         remedy would also discourage the assertion of lawful claims by the members
             11                         of the Classes who would be disinclined to pursue an action against
             12                         Defendants because of an appreciable and justifiable fear of retaliation and
             13                         permanent damage to their lives, careers and well-being;
             14                      f. Proof of a common business practice or factual pattern, of which the members
             15                         of the Classes experienced, is representative of the Classes herein and will
             16                         establish the right of each of the members of the Classes to recover on the
            17                          causes of action alleged herein;
             18                      g. Absent class treatment, the prosecution of separate actions by the individual
            19                          members of the Classes, even if possible, would likely create:
            20                          i)      a substantial risk of each individual plaintiff presenting in separate,
            21                                  duplicative proceedings the same or essentially similar arguments and
            22                                  evidence, including expert testimony;
            23                          ii)     a multiplicity of trials conducted at enormous expense to both the
            24                                  judicial system and the litigants;
            25                          iii)    inconsistent or varying verdicts or adjudications with respect to the
            26                                  individual members of the Classes against Defendants;
            27                          iv)    potentially incompatible standards of conduct for Defendants; and
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                  1                       v)       potentially incompatible legal determinations with respect to
              2                                     individual members of the Classes which would, as a practical matter,
              3                                    be dispositive of the interest of the other members of the'Classes who
              4                                    are not parties to the adjudications or which would substantially
              5                                    impair or impede the ability of the members of the Classes to protect
                                                       /
              6                                    their interests.
              7                       h. The claims of the individual members of the Classes are not sufficiently large
              8                           to warrant vigorous individual prosecution considering all of the concomitant
              9                           costs and expenses attendant thereto;
            10                        i. Courts seeking to preserve efficiency and other benefits of class actions
            11                           routinely fashion methods to manage any individual questions; and
            12                       j. The Supreme Court of California urges trial courts, which have an obligation
            13                           to consider the use of innovative procedural tools to certify a manageable
            14                           class, to be procedurally innovative in managing class actions.
            15                31.    Well-defined Community of Interest: Plaintiffs also meet the established
            16        standards for class certification (see, e.g. Lockheed Martin Com, v. Superior Court (2003) 29
            17        Cal.4th 1096), as follows:
            18                       a. Typicality: The claims of Plaintiff CLARENCE C. BELL, fll are typical of
            19                           the claims of all members of the Classes he seeks to represent because all
           20                            members of the Classes sustained injuries and damages arising out of
           21                            Defendants’ common course of conduct in violation of law and the injuries
           22                            and damages of all members of the Classes were caused by Defendants’
           23                            wrongful conduct in violation of law, as alleged herein.
           24                        b. Adequacy: Plaintiff CLARENCE C. BELL, HI:
           25                            i)        is an adequate representative of the Classes he seeks to represent;
           26                            ii)       will fairly protect the interests of the members of the Classes;
           27                            iii)      has no interests antagonistic to the members of the Classes; and
           28         ///
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                1              iv)     will vigorously pursue this suit via attorneys who are competent,

             2                         skilled and experienced in litigating matters of this type,

             3              c. Predominant Common Questions of Law or Fact: There are common

             4                  questions of law and/or fact as to the members of the Classes which

             5                 predominate over questions affecting only individual members of the Classes,

             6                 including, without limitation:

             7                 i)      Whether Defendants failed and continue to fail to provide all paid rest

             8                         periods to the members of the Rest Period Class in violation of the

             9                         Labor Code and Section 12 of the IWC Wage Orders:

           10                  ii)     Whether Defendants failed and continue to fail to provide legally-

          11                           requisite second meal periods to the members of the Meal Period Class

           12                          in violation of the Labor Code and Section 11 of the IWC Wage

           13                          Orders:
          14                   iii)    Whether Defendants paid the appropriate 7th day overtime wages to .

          15                           the members of the 7,b Day Overtime Class;

          16                   iv)     Whether Defendants failed to timely furnish accurate, itemized and

          17                           legal wage statements to the members of the Wage Statement Class;
          18                   v)      Whether Defendants are liable pursuant to Labor Code §203 to the

          19                           members of the LC 203 Class;

          20                   vi)     Whether Defendants5 conduct constitutes unfair competition within the
         21                            meaning ofB&PC §17200, et seq.;
         22                    vii)    Whether Defendants’ conduct constitutes unfair business practices
         23                            within the meaning of B&PC § 17200, et seq.;
         24                    viii)   Whether the members of the Classes are entitled to compensatory
         25                            damages, and if so, the means of measuring such damages;
         26                    ix)     Whether the members of the Classes are entitled to injunctive relief;
         27                    x)      Whether the members of the Classes are entitled to restitution; and
         28                    xi)     Whether Defendants are liable for attorneys’ fees and costs.
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                    BELL V. CEVA LOGISTICS U.S., INC., et al. - FIRST AMENDED COMPLAINT
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               1           32.     Whether each member of the Classes might be required to ultimately justify an
       •       2   individual claim does not preclude maintenance of a class action (see, e.g. Collins v. Rocha
               3   (1972) 7 Cal.3d 232, 238).
               4                                                     V.
               5                                         CAUSES OF ACTION
               6                       FAILURE TO PROVIDE ALL PAID REST PERIODS
               7                                  (On Behalf of the Rest Period Class)
               8                                        (Against AH Defendants)
               9           33.     Plaintiffs incorporate by reference and reallege each and every one of the
           10      allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set
           11      forth herein.
           12              34.     Labor Code §226.7(b) provides that “An employer shall not require an employee
           13      to work during a meal or rest or recovery period mandated pursuant to an applicable statute, or
           14      applicable regulation, standard, or order of the Industrial Welfare Commission, the Occupational
           15      Safety and Health Standards Board, or the Division of Occupational Safety and Health.”
           16             35.      Labor Code §516 provides that the Industrial Welfare Commission “may adopt or
           17      amend working condition orders with respect to break periods, meal periods, and days of rest for
           18      any workers in California consistent with the health and welfare of those workers.”
           19              36.     Section 12(A) of the IWC Wage Orderfs) states: “Every employer shall authorize
           20      and permit all employees to take rest periods, which insofar as practicable shall be in the middle
           21      of each work period. The authorized rest period time shall be based on the total hours worked
           22      daily at the rate of ten (10) minutes net rest time per four (4) hours or major fraction thereof.
           23      However, a rest period need not be authorized for employees whose total daily work time is less
           24      than three and one-half (3 14) hours. Authorized rest period time shall be counted as hours
           25      worked for which there shall be no deduction from wages.”
           26             37.      Section 12(B) of the IWC Waee Order(s) states: “If an employer fails to provide
           27      an employee a rest period in accordance with the applicable provisions of this order, the
           28      employer shall pay the employee one (1) hour of pay at the employee’s regular rate of
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                 1    compensation for each workday that the rest period is not provided.”
                 2            38.    The members of the Rest Period Class sometimes worked over four (4) hours per
                 3    shift. Further, the members of the Rest Period Class sometimes worked over six (6) hours per
                 4    shift, and in some cases over ten (10) hours per shift.
                 5            39.    The members of the Rest Period Class were entitled to a rest period of not less
                 6    than ten (10) minutes prior to exceeding four (4) hours of employment.
                 7           40.     Defendants’ rest break policy states: “Non-exempt employees also may not leave
                 8    work premises during a rest break.” As such, the members of the Rest Period Class were not
                 9    allowed to leave Defendants’ premises for their rest breaks, in violation of Augustus v ABM
                10    Security Services. Inc. (2016) 2 Cal.5,h 257, as Defendants failed to relinquish all control over
                11    how the members of the Rest Period Class spent their rest breaks.
                12           41.     As such, as a matter of Defendants’ established company policy, Defendants
                33   failed to authorize and permit required rest periods established by Labor Code §226.7 and Labor
                14   Code §516 and Section 12 of the TWC Wage OrderfsV
                15           42.     Pursuant to Section 12 of the IWC Wage Orderfsl and Labor Code §226.7(b)
                16   which states “if an employer fails to provide an employee a meal or rest period in accordance
                17   with an applicable order of the Industrial Welfare Commission, the employer shall pay the
                18   employee one additional hour of pay at the employee’s regular rate of compensation for each
            19       work day that the meal or rest period is not provided,” the members of the Rest Period Class are
            20       entitled to damages in an amount equal to one (1) additional hour of pay at each employee’s
            21       regular rate of compensation for each work day that the rest period was not so provided.
            22               43.     Pursuant to Labor Code §218.6 and CC §3287, the members of the Rest Period
            23       Class seek recovery of pre-judgment interest on all amounts recovered herein.
            24       ///

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                 1                                    SECOND CAUSE OF ACTION
                 2                    FAILURE TO PROVIDE ALL SECOND MEAL PERIODS
                 3                                 (On Behalf of the Meal Period Class)
                 4                                       (Against All Defendants)
                 5           44.     Plaintiffs incorporate by reference and reallege each and every one of the
                 6   allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set
                 7   forth herein.
                 8           45.     Labor Code §226.7(b) provides that “An employer shall not require an employee
                 9   to work during a meal or rest or recovery period mandated pursuant to an applicable statute, or
                10   applicable regulation, standard, or order of the Industrial Welfare Commission, the Occupational
                11   Safety and Health Standards Board, or the Division of Occupational Safety and Health.”
                12          46.      Labor Code §512 provides that “An employer may not employ an employee for a
            13       work period of more than five hours per day without providing the employee with a meal period
                14   of not less than 30 minutes, except that if the total work period per day of the employee is no
                15   more than six hours, the meal period may be waived by mutual consent of both the employer and
            16       employee. An employer may not employ an employee for a work period of more than 10 hours
            17       per day without providing the employee with a second meal period of not less than 30 minutes,
            18       except that if the total hours worked is no more than 12 hours, the second meal period may be
            19       waived by mutual consent of the employer and the employee only if the first meal period was not
            20       waived.”
            21              47.      Labor Code §516 provides that the Industrial Welfare Commission “may adopt or
           22        amend working condition orders with respect to break periods, meal periods, and days of rest for
            23       any workers in California consistent with the health and welfare of those workers.”
           24               48.      Section 11(A) of the IWC Wage Orders provides that “Unless the employee is
           25        relieved of all duty during a 30 minute meal period^ the meal period shall be considered an “on
           26        duty” meal period and counted as time worked. An “on duty” meal period shall be permitted
           27        only when the nature of the work prevents an employee from being relieved of all duty and when
           28        by written agreement between the parties an on-the-job paid meal period is agreed to. The
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               1    written agreement shall state that the employee may, in writing,* revoke the agreement at any

               2   time.”

               3            49.    Section 11 (B) of the IWC Wage Order(s') provides that “If an employer fails to

               4   provide an employee a meal period in accordance with the applicable provisions of this order, the

               5   employer shall pay the employee one (1) hour of pay at the employee’s regular rate of

               6   compensation for each workday that the meal period is not provided.”

               7            50.    On one or more occasions, the members of the Meal Period Class worked over ten

               8   (JO) hours per shift and therefore were entitled to a second meal period of not less than 30

               9   minutes.

           10               51.    The members of the Meal Period Class did not validly or legally waive their meal

           11      periods, by mutual consent with Defendants or otherwise.

           12               52.    The members of the Meal Period Class did not enter into any written agreement

           13      with Defendants agreeing to an on-the-job paid meal period.

           14               53.    As a matter of Defendants’ established company policy, Defendants failed to

           15      always comply with the meal period requirements established by Labor Code §226.7, Labor

           16      Code §512, Labor Code §516 and Section 11 of the IWC Wage Orderfsl bv failing to always

          17       provide the members of the Meal Period Class with a second legally compliant meal period.

          18                54.   Pursuant to Section 11(B) of the IWC Waee Orderfs') and Labor Code §226.7(c)

          19       which states “If an employer fails to provide an employee a meal or rest or recovery period in

          20       accordance with a state law, including, but not limited to, an applicable statute or applicable

          21       regulation, standard, or order of the Industrial Welfare Commission, the Occupational Safety and

          22       Health Standards Board, or the Division of Occupational Safety and Health, the employer shall

          23       pay the employee one additional hour of pay at the employee's regular rate of compensation for

          24       each workday that the meal or rest or recovery period is not provided.,” the members of the Meal

          25       Period Class are entitled to damages in an amount equal to one (1) additional hour of pay at each

          26       employee’s regular rate of compensation for each work day that the meal period was not

          27       provided, in a sum to be proven at trial.

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                1           55.      Pursuant to Labor Code §218.6 and CC §3287, the members of the Meal Period
              2     Class seek recovery of pre-judgment interest on all amounts recovered herein.
              3                                       THIRD CAUSE OF ACTION
             4                      FAILURE TO PAY ALL SEVENTH DAY OVERTIME WAGES

                5                              (On Behalf of the 7th Day Overtime Class)

             6                                           (Against All Defendants)

              7             56.     Plaintiffs incorporate by reference and reallege each and every one of the
              8     allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set

             9      forth herein.
            10              57.     Labor Code §510(a) states in pertinent part: u[T]he first eight hours worked on the
            11      seventh day of work in any one workweek ... shall be compensated at the rate of no less than one
            12      and one-half times the regular rate of pay for any employee. ... In addition, any work in excess
            13      of eight hours on any seventh day of a workweek shall be compensated at the rate of no less than
            14      twice the regular rate of pay of an employee.”
            15              58.     Labor Code §§ 1194(a) states: “Notwithstanding any agreement to work for a
            16      lesser wage, any employee receiving less than the legal minimum wage or the legal overtime
           17       compensation applicable to the employee is entitled to recover in a civil action the unpaid
           18       balance of the full amount of this minimum wage or overtime compensation, including interest
            19      thereon, reasonable attorney’s fees, and costs of suit.”
           20               59.     Labor Code §204 establishes the fundamental right of all employees in the State
           21       of California to be paid wages, including straight time and overtime, in a timely fashion for their
           22       work.
           23               60.     Pursuant to Labor Code §1198, it is unlawful to employ persons for longer than
           24       the hours set by the Industrial Welfare Commission or under conditions prohibited by the IWC
           25       Wage Order(s).
           26               61.     Defendants, as a matter of established compauy policy and procedure, at each and
           27       every one of the individual facilities owned and/or operated by Defendants:
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                 1                   a. Administered a uniform company policy and practice as to the pay policies

                2                        regarding Plaintiff and the members of the 7th Day Overtime Class;

                3                    b. Scheduled to work and in fact required Plaintiff and the members of the 7,h

                4                        Day Overtime Class to work seven days in a workweek on one or more

                5                        occasions;                                                                       ,

                6                   c. Failed to always pay Plaintiff and the members of the 7* Day Overtime Class

                7                        the correct overtime compensation for all work accomplished on the seventh

                8                        day in a workweek.

                9            62.    Defendants’ pattern, practice and uniform administration of corporate policy

              10     regarding illegal employee compensation as described herein is unlawful and creates an

              11     entitlement, pursuant to Labor Code §218 and Labor Code § 1194(a), to recovery by the members

              12     of the 7,h Day Overtime Class, in a civil action, for the unpaid balance of the full amount of the

              13     overtime premiums owing.

              14             63.    That calculation of individual damages for the members of the 7lh Day Overtime

              15     Class may at some point be required does not foreclose the possibility of taking common

              16     evidence on questions regarding their entitlement to overtime compensation (see, e.g. Collins v.

              17     Rocha (19721 7 Cal.3d 232; Hypolite v. Carleson (1975) 52 Cal.App.3d 566; Employment

              18     Development Dept, v. Superior Court (1980 30 Cal.3d 256).

              19             64.    Pursuant to Labor Code §218.6, Labor Code §1194(a) and CC §3287, the

             20      members of the 7,h Day Overtime Class seek recovery of pre-judgment interest on all amounts

             21      recovered herein.

             22              65.    Pursuant to Labor Code §218.5 and/or Labor Code § 1194, the members of the 7lh

             23      Day Overtime Class request that the Court award reasonable attorneys’ fees and costs incurred

             24      by them in this action.

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               1                                    FOURTH CAUSE OF ACTION
              2      FAILURE TO TIMELY FURNISH ACCURATE ITEMIZED WAGE STATEMENTS
              3                                 (On Behalf of the Wage Statement Class)
              4                                         (Against All Defendants)

              5            66.      Plaintiffs incorporate by reference and reallege each and every one of the

              6    allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set

              7    forth herein.
              8            67.      Labor Code §226(a) states in pertinent part: “Every employer shall, semimonthly

              9    or at the time of each payment of wages, furnish each of his or her employees, either as a
            10     detachable part of the check, draft, or voucher paying the employee’s wages, or separately when
            11     wages are paid by personal check or cash, an accurate itemized statement in writing showing (1)
            12     gross wages earned, (2) total hours worked by the employee... (4) all deductions... (5) net wages
            13     earned. (6) the inclusive dates of the period for which the employee is paid... (8) the name and
            14     address of the legal entity that is the employer, and (9) all applicable hourly rates in effect during
            15     the pay period and the corresponding number of hours worked at each hourly rate by the
            16     employee....”.
            17             68.      Further, the IWC Wage Orders §7(A) states in pertinent part: “(A) Every
            18     employer shall keep accurate information with respect to each employee including the following:
            19     (3) Time records showing when the employee begins and ends each work period. Meal periods,
            20     split shift intervals, and total daily hours worked shall also be recorded...(5) Total hours worked
           21      in the payroll period and applicable rates of pay....”
           22             69.       Therefore, pursuant to Labor Code §226(a) and the IWC Wage Orders §7(A),
           23      California employers are required to maintain accurate records pertaining to the total hours
           24      worked for Defendants by the members of the Wage Statement Class, including but not limited
           25      to, beginning and ending of each work period, meal period and split shift interval, the total daily
           26      hours worked, and the total hours worked per pay period and applicable rales of pay.
           27             70.       As a pattern and practice, in violation of Labor Code §226(a) and the IWC Wage
           28      Orders §7(A), Defendants did not and still do not furnish each of the members of the Wage
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                  1   Statement Class with an accurate itemized statement in writing showing (1) gross wages earned,
              2       (2) total hours worked by the employee, (3) all deductions, (4) net wages earned and/or (5) all
                      applicable hourly rates in effect during each respective pay period and the corresponding number
              4       of hours worked at each hourly rate by each respective individual and/or pertaining to the total
              5       hours worked for Defendants by the members of the Wage Statement Class, including but not
              6       limited to, beginning and ending of each work period, meal periods, rest periods, the total daily
              7       hours worked, the total hours worked per pay period, meal and rest period premium payments
                                                                   i
              8       and applicable rates of pay.
              9               71.    As of January 1, 2013, SB 1255 amended Labor Code §226 to clarify that an
            10        employee suffers injury if the employer fails to provide accurate and complete information as
            11        required by any one or more items listed in Labor Code §226(a)(l)-(9) and the employee cannot
            12        promptly and easily ascertain requisite information without reference to other documents or
            13        information.
            14               72.     Here, the members of Wage Statement Class suffered injury because Defendants
            15        failed to provide accurate and complete information as required by one or more items listed in
            16        Labor Code §226(a)(l)-(9) and the Wage Statement Class members could not and cannot
            17        promptly and easily ascertain requisite information without reference to other documents or
            18        information.
            19               73.     In addition, the members of die Wage Statement Class have suffered injury as a
           20         result of Defendants ’ failure to maintain accurate records for the members of the Wage
           21         Statement Class in that the members of the Wage Statement Class were not timely provided
           22         written accurate itemized statements showing all requisite information, including but not limited
           23         to total hours worked by the employee, net wages earned and all applicable hourly rates in effect
           24         during the pay period and the corresponding number of hours worked at each hourly rate, in
           25         violation of Labor Code §226 and the IWC Wage Orders §7(A), such that the members of the
           26         Wage Statement Class were misled by Defendants as to the correct information regarding
           27         various items, including but not limited to total hours worked by the employee, net wages earned
           28         and all applicable hourly rates in effect during the pay period and the corresponding number of
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               1    hours worked at each hourly rate.
               2            74.    The actual injuries suffered by the members of the Wage Statement Class as a
               3    result of Defendants’ knowing and intentional failure to maintain accurate records for the
               4    members of the Wage Statement Class include but are not limited to:
               5                   a. Confusion over whether they received all wages owed them by Defendants;
               6                   b. The difficulty and expense of attempting to reconstruct time and pay records;
               7                   c. Being forced to engage in mathematical computations to analyze whether
               8                      Defendants’ wages in fact compensated for all hours worked;
               9                   d. The inability to accurately calculate wage rates complicated by the fact that
           10                         wage statement information required bv Labor Code 6226 is missing;
           11                     e. That such practice prevents the members of the Wage Statement Class from
           12                         being able to effectively challenge information on their wage statements;
           13                         and/or
           14                      f. The difficulty and expense of filing and maintaining this lawsuit, and the
           15                         discovery required to collect and analyze the very information that California
           16                         law requires.
           17              75.    Pursuant to Labor Code §226(e), the members of the Wage Statement Class are
           18      entitled to fifty dollars (S50.00) per employee for the initial pay period in which a violation
          19       hereunder occurs and one hundred dollars ($100.00) per employee for each violation in a
          20       subsequent pay period, not exceeding an aggregate penalty of four thousand dollars ($4,000.00).
          21               76.    Pursuant to Labor Code §226(g), the currently-employed members of the Wage
          22       Statement Class are entitled to injunctive relief to ensure Defendants’ compliance with Labor
          23       Code §226.
          24               77.    Pursuant to Labor Code §226(e) and/or §226(g), the members of the Wage
          25       Statement Class are also entitled to an award of costs and reasonable attorneys’ fees.
          26       ///

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                  1                                      FIFTH CAUSE OF ACTION
                  2                                VIOLATIONS OF LABOR CODE §203
                                                        (On Behalf of the LC 203 Class)
                  4                                         (Against AH Defendants)
                  5            78.     Plaintiffs incorporate by reference and reallege each and every one of the
                  6    allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set
                  7    forth herein.
                  8            79.     Labor Code §203 provides that if an employer willfully fails to pay, without
                  9   abatement or reduction, in accordance with Labor Code §§201 and 202, any wages of an
              10      employee who is discharged or who quits, the wages of the employee shall continue at the same
              11      rate, for up to thirty (30) days from the due date thereof, until paid or until an action therefore is
              12      commenced.
              13              80.      The members of the LC 203 Class are no longer employed by Defendants as they
              14      were either discharged from.or quit Defendants5 employ.
              15              81.      Defendants had a consistent and uniform policy, practice and procedure of
              16      willfully failing to pay the earned wages of Defendants’ former employees, as set forth in this
             17       complaint and according to amendment or proof.
             18               82.      Defendants willfully failed to pay the members of the LC 203 Class their entire
             19       wages due and owing at the time of their termination or within seventy-two (72) hours of their
             20       resignation, and failed to pay those sums for up to thirty (30) days thereafter.
             21               83.      Defendants’ willful failure to pay wages to the members of the LC 203 Class
             22       violates Labor Code §203 because Defendants knew or should have known wages were due to
            23        the members of the LC 203 Class, but Defendants failed to pay them.
             24               84.      Thus, the members of the LC 203 Class are entitled to recovery pursuant to Labor
             25       Code §203.
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              1                                     SIXTH CAUSE OF ACTION
              2                        PENALTIES PURSUANT TO LABOR CODE §2699
                                              (On Behalf of the Aggrieved Employees)
              4                                        (Against AH Defendants)
              5           85.     Plaintiffs incorporate by reference and reallege each and every one of the
              6   allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set
              7   forth herein.
              8   A.     LABOR COPE $552
              9          86.      Labor Code §552 states: “No employer of labor shall cause his employees to work
             10   more than six days in seven.”
             11          87.      Labor Code §551 states: “Every person employed in any occupation of labor is
             12   entitled to one day’s rest therefrom in seven.”
             13          88.      Labor Code §550 states: “As used in this chapter “day’s rest” applies to all
             14   situations whether the employee is engaged by the day, week, month, or year, and whether the
             15   work performed is done in the day or night time.”
         16              89.      Defendants, as a matter of established company policy and procedure, at each and
          17      every one of the individual facilities owned and/or operated by Defendants, during the relevant
         18       time period:
         19                       a.     Administered a uniform company policy and practice as to the pay
         20                              policies regarding Plaintiff and all other similarly situated aggrieved
         21                              employees;
         22                       b.     On one or more occasions, scheduled to work and in fact required Plaintiff
         23                              and all other similarly situated aggrieved employees to work more than six
         24                              days in seven; and
         25                       c.     Failed to fully compensate Plaintiff and all other similarly situated
         26                              aggrieved employees for working more than six days in seven.
         27              90.      Defendants’ pattern, practice and uniform administration of corporate policy
         28       regarding illegal employee compensation as described herein is unlawful and creates an
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                 1   entitlement to recovery by Plaintiff and all other similarly situated aggrieved employees, in a
             2       civil action, to the extent allowed by law.
             3       B.      PENALTIES ASSESSED
             4               91.    Pursuant to Labor Code §2699(a) (which provides that any provision of the Labor
             5       Code that provides for a civil penalty to be assessed and collected by the Labor and Workforce
             6       Development Agency (“LWDA”) (or any of its departments, divisions, commissions, board
             7       agencies or employees), such civil penalties may, as an alternative, be recovered through a civil
             8       action brought by an aggrieved employee on behalf of himself or herself and other current or
             9       former employees) and Labor Code §2699(f) (which establishes a civil penalty for violations of
           10        all Labor Code provisions except those for which a civil penalty is specifically provided), the
           11        aggrieved employees seek recovery of all applicable civil penalties, as follows:
           12                       a. As applicable, for civil penalties under Labor Code §2699(f), for all violations
           13                           of the Labor Code except for those for which a civil penalty is specifically
           14                           provided, in the amount of one hundred dollars (S100.00) for each aggrieved
           15                           employee per pay period for the initial violation; and two hundred dollars
           16                           ($200.00) for each aggrieved employee per pay period for each subsequent
           17                           violation; and
           IS                       b. As applicable, for civil penalties under Labor Code §558 (in addition to and
           19                           entirely independent and apart from any other penalty provided in the Labor
          20                            Code), for violations of Labor Code §§1-556, in the amount of $50 for each
        . 21                           underpaid aggrieved employee for each pay period the aggrieved employee
          22                           was underpaid, and $100 for each subsequent violation for each underpaid
          23                           employee for each pay period for which the employee was underpaid;
          24                       c. As applicable, for civil penalties under Labor Code § 1197.1 (in addition to
          25                           and entirely independent and apart from any other penalty provided in the
          26                           Labor Code), for violations of Labor Code §§1194 and 1197, in the amount of
          27                           $100 for each underpaid aggrieved employee for each pay period the
          28                           aggrieved employee was intentionally underpaid, and $250 for each
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          Case 5:19-cv-00352-SVW-KK Document 1-1 Filed 02/22/19 Page 25 of 37 Page ID #:34




                 1               subsequent violation for each underpaid aggrieved employees regardless of
                 2               whether the initial violation was intentionally committed;
                 3           d. As applicable, for civil penalties under Labor Code §210 (in addition to and
                 4               entirely independent and apart from any other penalty provided in the Labor
                 5               Code), for each employee who is/was not paid wages in accordance with
                 6               Labor Code §§201.3, 204, 204b, 204.1, 204.2, 205, 205.5 and 1197.5) in the
                 7               amount of a civil penalty of S100 for each aggrieved employee per pay period
                 8               for each initial violation, and S200 for each aggrieved employee per pay
                 9               period for each subsequent violation;
            10               e. As applicable, for civil penalties under Labor Code §226.3 (in addition to and
             11                  entirely independent and apart from any other penalty provided in the Labor
            12                   Code), for each violation of Labor Code §226(a), in the amount of S250 for
            13                  each aggrieved employee per pay period for each violation and 51,000 for
            14                  each aggrieved employee per pay period for each subsequent violation;
            15               f. As applicable, for civil penalties under Labor Code §256 (in addition to and
            16                  entirely independent and apart from any other penalty provided in the Labor
            17                  Code), for any aggrieved employee who was discharged or quit, and was not
            18                  paid all earned wages at termination in accordance with Labor Code §§201,
            19                  201.1, 201.5. 202, and 205.5, in the amount of a civil penalty of one day of.
            20                  pay, at the same rate, for each day that he or she was paid late, until payment
            21                  was/is made, up to a maximum of thirty (30) days;
            22               g. As applicable, for civil penalties pursuant to Labor Code §552, in addition to
           23                   and entirely independent and apart from any other penalties in the Labor Code
            24                  (which states “No employer of labor shall cause his employees to work more
        . 25                    than six days in seven” because Defendants did in fact cause Plaintiff and the
            26                  similarly situated aggrieved employees to work more than six days in seven),
           27                   in the amount of $250 for each aggrieved employee per pay period for each
           28                   violation and 51,000 for each aggrieved employee per pay period for each
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                     BELL V. CEVA LOGISTICS U.S., INC., et al. - FIRST AMENDED COMPLAINT
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                  1                       subsequent violation; and
              2                       h. As applicable, for any and all additional civil penalties and sums as provided
                                         by the Labor Code and/or other relevant statutes.
              4               92.     In addition, Plaintiff seeks and is entitled to seventy-five percent (75%) of all
              5       penalties obtained under Labor Code §2699 to be allocated to the LWDA, for education of
              6       employers and employees about their rights and responsibilities under the Labor Code, and
               7      twenty-five percent (25%) to Plaintiff and all other similarly situated aggrieved employees.
               8              93.     Further, Plaintiff and all other similarly situated aggrieved employees are entitled
              9       to recover reasonable attorneys’ fees and costs pursuant to Labor Code §§2699(g)(l) and any
            10        other applicable statute.
            11                94.     Labor Code §2699.3(a) states in pertinent part: “A civil action by an aggrieved
            12        employee pursuant to subdivision (a) or (f) of Section 2699 alleging a violation of any provision
            13        listed in Section 2699.5 shall commence only after the following requirements have been met:
            14        (1) (A) The aggrieved employee or representative shall give written notice by online filing with
            15        the Labor and Workforce Development Agency and by certified mail to the employer of the
            16        specific provisions of this code alleged to have been violated, including the facts and theories to
            17        support the alleged violation.”
            18                95.     Labor Code §2699.3(c)(1) states in pertinent part: “A civil action by an aggrieved
            19        employee pursuant to subdivision (a) or (f) of Section 2699 alleging a violation of any provision
            20        other than those listed in Section 2699.5 or Division 5 (commencing with Section 6300) shall •
            21        commence only after the following requirements have been met: (1) (A) The aggrieved
            22        employee or representative shall give written notice by online filing with the Labor and
            23        Workforce Development Agency and by certified mail to the employer of the specific provisions
            24        of this code alleged to have been violated, including the facts and theories to support the alleged
           25         violation.”
           26                96.     Here, Plaintiffs5 civil action alleges violations of provisions listed in Labor Code
           27         §2699.5 and violations of provisions other than those listed in Labor Code §2699.5. As such,
           28         Labor Code §2699.3(a) and §2699.3(c) apply to this action.
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               1           97.    On November L3, 2018, Plaintiffs complied with Labor Code §2699.3(a) and
               2   Labor Code §2699.3(c) in that Plaintiffs gave written notice by online filing with the LWDA and
               3   by certified mail to Defendants of the specific provisions of the Labor Code alleged to have been
               4   violated, including the facts and theories to support the alleged violations. Attached hereto as
               5   Exhibit “1” is Plaintiffs’ LWDA letter.
               6           98.    Labor Code §2699.3(a) further states in pertinent part: “(2)(A) The agency shall
               7   notify the employer and the aggrieved employee or representative by certified mail that it does
               8   not intend to investigate the alleged violation within 60 calendar days of the postmark date of the
               9   notice received pursuant to paragraph (1). Upon receipt of that notice or if no notice is provided
             10    within 65 calendar days of the postmark date of the notice given pursuant to paragraph (1), the
             11    aggrieved employee may commence a civil action pursuant to Section 2699.”
             12            99.    As of January' 17, 2019 (65 calendar days after Plaintiffs’ November 13, 2018
             13    LWDA letter was filed online). Plaintiffs had not received any notification that the LWDA
             14    intended to investigate the alleged violations. As such, Plaintiffs have complied with Labor Code
            15     §2699.3(a) and have been given authorization therefrom to commence a civil action which
            16     includes a cause of action pursuant to Labor Code §2699.
            17             100.   Further, as of December 16, 2018 (33 calendar days after Plaintiffs’ November
            18     13, 2018 LWDA letter was mailed to Defendants via certified mail), Plaintiffs have not received
            19     from Defendants written notice by certified mail that the alleged violations have been cured,
            20     including a description of actions taken. As such. Plaintiffs have complied with Labor Code
            21     §2699.3(c) and have been given authorization therefrom to commence a civil action which
            22     includes a cause of action pursuant to Labor Code §2699.
           23                                     SEVENTH CAUSE OF ACTION
            24                                   UNFAIR BUSINESS PRACTICES
           25                                       (On Behalf of the 17200 Class)
           26                                          (Against All Defendants)
           27             101.    Plaintiffs incorporate by reference and reallege each and every one of the
           28      allegations contained in the preceding and foregoing paragraphs of this Complaint as if fully set
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                 1   forth herein.
                 2           102.    B&PC §17200 provides in pertinent part “...[U]nfair competition shall mean and
                 3   include any unlawful, unfair or fraudulent business act...”.
                 4           103.    B&PC § 17205 provides that unless otherwise expressly provided, the remedies or
                 5   penalties provided for unfair competition “are cumulative to each other and to the remedies or
                 6   penalties available under all other laws of this state.”
                 7           104.    B&PC §17204 provides that an action for any relief from unfair competition may
                 8   be prosecuted by any person who has suffered injury in fact and has lost money or property as a
                 9   result of such unfair competition.
            10               105.    Defendants have engaged in unlawful, unfair and fraudulent business acts or
            11       practices prohibited by B&PC §17200, including those set forth in the preceding and foregoing
            12       paragraphs of the complaint, thereby depriving the members of the 17200 Class of the minimum
            13       working standards and conditions due to them under the Labor Code and/or die IWC Wage
            14       Orders, as specifically described herein.
            15               106.    Defendants have engaged in unfair business practices in California by practicing,
            16       employing and utilizing the employment practices outlined in the preceding paragraphs,
           17        specifically, by requiring employees to perform the labor services complained of herein without
           18        the requisite compensation.
           19                107.    Defendants’ use of such practices constitutes an unfair business practice, unfair
           20        competition and provides an unfair advantage over Defendants’ competitors.
           21                108.    Plaintiffs have suffered injury in fact and have tost money or property as a. Result
           22        of such unfair competition.
           23                109.    Plaintiffs seek full restitution from Defendants, as necessary and according to
           24        proof, to restore any and all monies withheld, acquired and/or converted by Defendants by means
           25        of the unfair practices complained of herein.
           26               110.     Further, if Defendants are not enjoined from the conduct set forth above,
           27        Defendants will continue to practice, employ and utilize the employment practices outlined in the
           28        preceding paragraphs.
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                   1           111.    Therefore, Plaintiffs request that the Court issue a preliminary and permanent

                   2   injunction prohibiting Defendants from engaging in the foregoing conduct.

                   3           112.    Plaintiffs seek the appointment of a receiver, as necessary, to establish the total

                   4   monetary relief sought from Defendants.

                   5                                                    VI.

                   6                                        PRAYER FOR RELIEF

                   7   WHEREFORE, Plaintiffs pray:

                   8           a.     That the Court issue an Order certifying the Classes herein, appointing all named

                   9   Plaintiffs as representative of all others similarly situated, and appointing all law firms

               10      representing all named Plaintiffs as counsel for the members of the Classes;

               11      As to the First Cause of Action for Failure to Provide All Paid Rest Periods:

               12'            b.      For one (1) hour of pay at the regular rate of compensation for each member of

               13      the Rest Period Class for each workday that a legal rest period was not provided;

               14             c.      For pre-judgment interest as authorized by Labor Code §218.6 and CC §3287;

               15      As to the Second Cause of Action for Failure to Provide Meal Periods:

               16             d.      For one (1) hour of pay at the regular rate of compensation for each member of

              17       the Meal Period Class for each workday that a meal or rest period was not provided;

              18              e.      For pre-judgment interest as authorized by Labor Code §218.6 and CC §3287;

              19       As to the Third Cause of Action for Failure to Pav 7- Dav Overtime Wages:

              20              f.      For damages, as set forth in Labor Code § 1194(a) and the TWC Wage Orderfsl
              21       regarding wages due and owing, according to proof;

              22              g-      For pre-judgment interest as allowed bv Labor Code $218.6. Labor Code

              23       §1194(a) and CC §3287;
             24               h.      For an award of reasonable attorneys’ fees and costs pursuant to Labor Code
             25        §218.5 and/or Labor Code §1194(a);

             26        As to the Fourth Cause of Action for Failure to Timely Furnish Accurate Itemized Wage

             27        Statements:

             28               l.      For recovery as authorized by Labor Code §226(e);
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                1           J-         For an award of costs and reasonable attorneys’ fees pursuant to Labor Code

                2   §226(e) and/or §226(g);

                3   As to the Fifth Cause of Action for Violations of Labor Code $203:

                4           k.         For recovery as authorized by Labor Code §203;

                5   As to the Sixth Cause of Action for Penalties Pursuant to Labor Code $2699:

                6           1.         As applicable, for civil penalties pursuant to Labor Code §2699(f), in addition to

                7   and entirely independent and apart from other penalties in the Labor Code and for Labor Code

                8   violations without a specific civil penalty, in the amount of $100 for each aggrieved employee

                9   per pay period for each violation, and $200 for each aggrieved employee per pay period for each

               10   subsequent violation;

               11           m.         As applicable, for civil penalties pursuant to Labor Code §558, in addition to and

               12   entirely independent and apart from other penalties in the Labor Code, as follows:
               13                      i) For any initial violation, fifty dollars ($50) for each aggrieved underpaid

               14                         employee for each pay period for which the employee was underpaid;

               15                      ii) For each subsequent violation, one hundred dollars ($100) for each aggrieved

               16                         underpaid employee for each pay period for which the employee was
               17                         underpaid;

               18          n.          As applicable, for civil penalties pursuant to Labor Code § 1197.1. in addition to

           19       and entirely independent and apart from other penalties in the Labor Code, as follows:

           20                     i)      For any initial violation that is intentionally committed, $100 for each

           21                             aggrieved underpaid employee for each pay period for which the employee
           22                             was underpaid; and

           23                    ii)      For each subsequent violation, regardless of whether the initial violation is
           24                             intentionally committed, $250 for each aggrieved underpaid employee for

           25                             each pay period for which the employee was underpaid.

          26               o.      As applicable, for civil penalties pursuant to Labor Code §210, in addition to and

          27        entirely independent and apart from other penalties in the Labor Code, in the amount of $ 100 for

          28        each aggrieved employee per pay period for each violation, and $200 for each aggrieved
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                1   employee per pay period for each subsequent violation;
                2           P.      As applicable, for civil penalties pursuant to Labor Code §226.3, in addition to
                3   and entirely independent and apart from other penalties in the Labor Code, in the amount of $250
                4   for each aggrieved employee per pay period for each violation, and $1,000 for each aggrieved
                5   employee per pay period for each subsequent violation;
                6           q-      As applicable, for civil penalties pursuant to Labor Code §§201-203 and/or 256,
                7   in addition to and entirely independent and apart from other penalties in the Labor Code, in the
                8   amount equivalent to one day of pay, at the regular rate of pay, for each day that an aggrieved
                9   employee was paid late, at the time of termination, until payment was/is made, up to a maximum
            10      of thirty (30) days;
            11              r.      As applicable, for civil penalties pursuant to Labor Code §552, in addition to and
            12      entirely independent and apart from any other penalties in the Labor Code (which states “No
            13      employer of labor shall cause his employees to work more than six days in seven” because
            14      Defendants did in fact cause Plaintiff and the similarly situated aggrieved employees to work
            15      more than six days in seven), in the amount of S250 for each aggrieved employee per pay period
            16      for each violation and S1,000 for each aggrieved employee per pay period for each subsequent
            17      violation;
            18              s.      As applicable, for reasonable attorneys * fees and costs incurred pursuant to Labor
            19      Code §§2699(g)(l) and any other applicable statute; and
           20               t.     As applicable, for such relief as this Court may deem just and proper;
           21       As to the Seventh Cause of Action for Unfair Business Practices:
           22               u.     For an accounting, under administration of Plaintiffs and/or the receiver and
           23       subject to Court review, to determine the amount to be returned by Defendants, and the amounts
           24       to be refunded to members of the Classes who are owed monies by Defendants;
           25              v.      For an Order requiring Defendants to identify each of the members of the Classes
           26       by name, home address, home telephone number and, if available, email address;
           27              w.      For an Order requiring Defendants to make full restitution and payment pursuant
           28       to California law;
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                1           x.     For an Order for a preliminary and/or permanent injunction prohibiting
                2   Defendants from engaging in the acts complained of herein;
                3          y-      For the creation of an administrative process wherein each injured member of the
                4   Classes may submit a claim in order to receive his/her money;
                5          z.      For all other appropriate injunctive, declaratory and equitable relief;
                6          aa.     For interest to the extent permitted by law;
                7          bb.     For an award of attorneys’ fees and costs incurred in the investigation, filing and
                8   prosecution of this action pursuant to CCP §1.021.5, B&PC §17200, et seq., and/or any other
                9   applicable provision of law;
               10   As to All Causes of Action:
               11          cc.     For such relief as this Court may deem just and proper, including reasonable
               12   attorneys’ fees and costs incurred.
               13                                                  VII.
               14                                    DEMAND FOR JURY TRIAL
               15         Plaintiffs hereby demand trial of their claims by jury to the extent authorized by law.
               16   Dated: January 18. 2019                       LAW OFFICES OF KEVIN T. BARNES
               17
               18
                                                                  By:                .'T /?..
                                                                          Kevin T. Bames, Esq.
                                                                          Gregg Lander, Esq.
               19                                                         Attorneys for Plaintiffs
               20

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                              EXHIBIT 1
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                                                    LAW OFFICES OF
                                           KEVIN T. BARNES
      KEVIN T. BARNES                                                                      A Professional Law Corporation
      GREGG LANDER                       1635 PONTIUS AVENUE. 2ND FLOOR
                                        LOS ANGELES, CALIFORNIA 90025-3361
                                                                                                 www.kbames.com
        OF COUNSEL:
     JOSEPH ANTONELLl                          TELEPHONE: (323) 549-9100
                                      Toll-Free: (877) 309-3577 / FAX: (323) 549-0101          Bames@kbames.com

                                                 November 13. 2018
VTA ELECTRONIC MAIL ($75 filing fee to follow bv main
PAGA Administrator
California Labor and Workforce Development Agency
PAGAfilings@dir.ca.gov
        Re:     CEVA LOGISTICS U.S.. INC, and RANPSTAD INHOUSE SERVICES. LLC thereafter
collectively, the “Employer”)
NOTICE OF LABOR CODE VIOLATIONS PURSUANT TO LABOR CODE §2699.3
        To:    PAGA Administrator, California Labor and Workforce Development Agency and the Employer
        From: CLARENCE C. BELL, ITT (the “Employee”), who was subjected to the wage and hour practices
set forth below
        The Employee, by way of the above-named counsel, submits this Notice, pursuant to and in compliance
with the requirements of California Labor Code §2699.3(a)/(c). and alleges the facts and theories to support the
alleged violations as follows:
        During the applicable time period, all individual Employers herein were and are members of and/or
engaged in a joint venture, partnership and common enterprise, and were acting within the course and scope of,
and in pursuance of said joint venture, partnership and common enterprise. Further, during this time period, the
Employer employed the Employee and all other similarly situated aggrieved employees as hourly-paid
employees, and utilized consistent policies and procedures regarding the Employee and all such other similarly
situated aggrieved employees, as follows:
        First, the Employer failed to provide legally requisite paid rest breaks to the Employee and all other
similarly situated aggrieved employees because they did not always get legally compliant fiill ten minute
uninterrupted rest breaks within the first four hours of their shift or major fraction thereof, and each subsequent
four hours worked thereafter or major fraction thereof. The Employer’s rest break policy states in pertinent part:
“Non-exempt employees also may not leave work premises during a rest break.” Because they were not allowed
to leave the premises during rest breaks, the Employee and all other similarly situated aggrieved employees
were not always provided legally compliant rest breaks. Augustus v ABM Security Sendees. Tnc. (2016) 2 Cal
5lh 257. Because the Employer did not pay a rest period penalty for these violations, the Employer violated
Labor Code §226.7 and the applicable Industrial Wage Order, 1]12(A)/(B), and owes rest period wages and
penalties pursuant to Labor Code §§2699(f) and/or 558.
        Second. The Employer failed to timely provide all legally compliant second meal breaks to the
Employee and all other similarly situated aggrieved employees. The Employee and all other similarly situated
aggrieved employees routinely worked over ten hours but were not timely provided a legally compliant second
meal break. Tne Employer did not always pay a meal period penalty for these violations. As such, the Employer
violated Labor Code §§226.7, 512 and 516 and the applicable Industrial Wage Order, 1fl 1, and owes penalties
pursuant to Labor Code §§2699(f) and/or 558.
        Third, the Employer failed to always provide the Employee and all other similarly situated aggrieved
employees with one day’s rest in every seven days of labor, and as such sometimes caused the Employee and all
other similarly situated aggrieved employees to work more than six days in seven. As such, the Employer
violated Labor Code §552, and owes penalties pursuant to Labor Code §§2699(f) and/or 558.
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          Fourth, when the Employer required the Employee and all others similarly situated aggrieved employees
  to work seven or more days in a row, the Employer failed to always pay for the first eight hours worked on (he
  seventh day of a workweek at the rate of no less than one and one-half times the regular rate of pay, and
  additionally failed to always pay for all work in excess of eight hours on any seventh workday of a workweek at
  the rate of no less than twice the regular rate of pay. As such, the Employer violated Labor Code §§510. et seq.
  and owes penalties pursuant to Labor Code §§2699(f) and/or 558.

         As a derivative result of the above claimCsL the Employer has also allegedly violated Labor Code §226
  and §§201-203, as follows:

          Regarding wage statements, pursuant to Labor Code §226 and the applicable Industrial Wage Order, the
  Employer is required to include on a paystub such information as all hours worked, the hourly rate of pay, and
  the rate of pay for overtime and double time work. Here, because the Employer allegedly failed to pay all wages
  as set forth above, improper paystubs were issued by the Employer to the Employee and all other similarly
  situated aggrieved employees, and the Employee alleges that the Employer has derivatively violated Labor
  Code §226, and owes penalties pursuant to Labor Code §§2699(f) and/or 226.3.

          Regarding waiting time penalties, pursuant to Labor Code §203, the Employee and all other similarly
  situated aggrieved employees are entitled to thirty day of wages at their regular rate of pay for the Employer’s
  alleged failure to pay all wages due upon separation of employment. Here, because the Employer allegedly
  failed to pay all wages as set forth above, the Employee alleges that the Employer has derivatively violated
  Labor Code §§201-203, and owes penalties pursuant to Labor Code §§2699(f), 203 and/or 256.


        Pursuant to Labor Code §2699.3(a)(2)(A), please advise within sixty-five (65) calendar days of the
  postmark date of this notice whether the LWDA intends to investigate these alleged violations.

          Further, pursuant to Labor Code §2699.3(c)(2)(A), the Employer may cure the alleged violations within
  thirty-three (33) calendar days of the postmark date of this notice and within that period, give notice by certified
  mail if the alleged violation is cured, including n description of actions taken.

           In addition, this letter clearly sets forth the Employee’s grievances and proposed remedies, pursuant to
  the Labor Code. PAGA and otherwise, as set forth above. The Employee would like to engage in reasonable
  efforts to settle this dispute before filing a civil action against the Employer. The Employee gives the Employer
  the opportunity, prior to the expiration of the deadline for the LWDA to investigate, to meet the Employee’s
  demands and settle this dispute.

          We understand that if we do not receive a response within sixty-five (65) calendar days of the postmark
  and filing date of this notice that the LWDA intends to investigate these allegations and/or a notice from the
  Employer that the alleged violations arc cured, and/or if the alleged violations are not cured, then the Employee
  may immediately thereafter commence a civil action against the Employer pursuant to Labor Code §2699.

         Thank you for your consideration.

                                                        Very Truly Yours,

                                                                  X/Z
                                                        Kevin T. Barnes
                                                        Gregg Lander

  cc: (via Certified Mail)                                     cc: (via Certified Mail)
  Ceva Logistics U.S., Inc.                                    Randstad Inhouse Sendees, LLC
  15350 Vickery Drive                                          150 Presidential Way, 4th Floor
. Houston, TX 77032                                            Woburn, MA 01801
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                                       t *
PAGA Administrator
Re: Ceva Logistics U.S., Inc., et al.
November 13, 2018
Page 3

cc: (via U.S. Mail)
Raphael A. Katri, Esq.
LAW OFFICES OF RAPHAEL A. KATRI
8549 Wilshire Boulevard, Suite 200
Beverly Hills, CA 90211-3104
           Case 5:19-cv-00352-SVW-KK Document 1-1 Filed 02/22/19 Page 37 of 37 Page ID #:46




                 1                                         PROOF OF SERVICE

                 2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                 3          I, the undersigned, am over the age of 18 years and not a party to this action. My business
                     address is 1635 Pontius Avenue, Second Floor, Los Angeles, CA 90025-3361, which is located
                 4   in Los Angeles County, where the service herein occurred.

                 5           On the date of execution hereof, 1 caused to be served the following attached document/s:

           • 6               FIRST AMENDED COMPLAINT

                 7           on the interested parties in this action, addressed as follows:

                 8     For Defendant Randstad Inhouse Services. LLC: For Defendant Ceva Logistics U.S.:

                 9     Randstad Inhouse Services, LLC*                      Ceva Logistics U.S., Inc.*
                       c/o Agent for Service of Process                     c/o Agent for Service of Process
            10         CSC - Lawyers Incorporating Service                  CT Corporation System
                       150 Presidential Way, Fourth Floor                   15350 Vickery Drive
            11         Woburn, MA 01801                                     Houston, TX 77032

            12         Daniel Whang, Esq.**                                 Attorneys for Plaintiffs:
                       SEYFARTH SHAW
            13         2029 Century Park East, Suite 3500                   Raphael A. Katri, Esq.**
                       Los Angeles, CA 90067-3021                           LAW OFFICES OF RAPHAEL A. KATRI
            14         Tel.: (310) 201-1539/Fax: (310)551-8339              8549 Wilshire Boulevard, Suite 200
                       Email: DWhang@seyfarth.com                           Beverly Hills, CA 90211-3104
            15                                                              Tel: (310) 940-2034 / Fax: (310) 733-5644
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